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Fill in this information to identify your case:

Debtor 1                   Donna Marie Coburn
                           First Name                      Middle Name                       Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              DISTRICT OF CONNECTICUT

Case number            22-20276
(if known)
                                                                                                                                                         Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

          No. Go to Part 2.
          Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          Acima Credit                                            Last 4 digits of account number                                                                     $1,090.00
             Nonpriority Creditor's Name
             C/O President or CEO                                    When was the debt incurred?
             13907 S Minuteman Dr
             Draper, UT 84020
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                  Student loans
             debt                                                       Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify   Charged-Off - Lease




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Debtor 1 Donna Marie Coburn                                                                      Case number (if known)         22-20276

4.2      Bank of America                                     Last 4 digits of account number                                                      $5,095.64
         Nonpriority Creditor's Name
         C/O President or CEO                                When was the debt incurred?
         100 Tryon St
         Charlotte, NC 28202
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Small Claim Judgment


4.3      Barclaycard                                         Last 4 digits of account number                                                      $1,964.00
         Nonpriority Creditor's Name
         Attn: President or CEO                              When was the debt incurred?
         PO Box 8803
         Wilmington, DE
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.4      Care Credit                                         Last 4 digits of account number                                                      $3,500.00
         Nonpriority Creditor's Name
         PO Box 965036                                       When was the debt incurred?
         C/O President or CEO
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical Services Credit Card




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4.5      CB Indigo                                           Last 4 digits of account number                                                       $462.00
         Nonpriority Creditor's Name
         C/O President or CEO                                When was the debt incurred?
         PO Box 97076
         Beaverton, OR 97076
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.6      Citibank NA                                         Last 4 digits of account number                                                      $1,276.00
         Nonpriority Creditor's Name
         C/O President or CEO                                When was the debt incurred?
         50 Northwest Point Rd
         Elk Grove Village, IL 60007
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.7      Comenity Bank - Bankr Dept                          Last 4 digits of account number                                                       $852.00
         Nonpriority Creditor's Name
         P.O. Box 182125                                     When was the debt incurred?
         Columbus, OH 43218-2125
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection - Venus Acct




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Debtor 1 Donna Marie Coburn                                                                      Case number (if known)         22-20276

4.8      Credit One Bank                                     Last 4 digits of account number                                                       $258.00
         Nonpriority Creditor's Name
         C/O President or CEO                                When was the debt incurred?
         PO Box 98875
         Las Vegas, NV 89193
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.9      Crown Asset Management                              Last 4 digits of account number                                                      $1,717.82
         Nonpriority Creditor's Name
         C/O President or CEO                                When was the debt incurred?
         3100 Breckenridge Blvd
         Ste 725
         Duluth, GA 30096
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Small Claim Writ


4.1
0        Discover Bank                                       Last 4 digits of account number                                                      $2,691.60
         Nonpriority Creditor's Name
         Attn: President or CEO                              When was the debt incurred?
         6500 New Albany Rd
         New Albany, OH 43054
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Small Claim Action




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Debtor 1 Donna Marie Coburn                                                                      Case number (if known)         22-20276

4.1
1        Ginny's                                             Last 4 digits of account number                                                      $2,772.00
         Nonpriority Creditor's Name
         C/O President or CEO                                When was the debt incurred?
         1112 7th Ave.
         Monroe, WI 53566-1364
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   General Purchases


4.1
2        Home Depot                                          Last 4 digits of account number                                                       $428.00
         Nonpriority Creditor's Name
         PO Box 6497                                         When was the debt incurred?
         Attn: President or CEO
         Sioux Falls, SD 57117-6497
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.1
3        Jacqueline Gibson                                   Last 4 digits of account number                                                      Unknown
         Nonpriority Creditor's Name
         82 Ellsworth Dr                                     When was the debt incurred?           September 22, 2020
         Bloomfield, CT 06002
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
                                                                Contingent
             Debtor 1 only
             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Motor Vehicle Accident




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 9
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Debtor 1 Donna Marie Coburn                                                                      Case number (if known)         22-20276

4.1
4        Jefferson Capital Systems                           Last 4 digits of account number                                                      $1,080.41
         Nonpriority Creditor's Name
         C/O President or CEO                                When was the debt incurred?
         P.O. Box 17210
         Golden, CO 80402
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Small Claims Judgment


4.1
5        Synchrony Bank                                      Last 4 digits of account number                                                      $3,500.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Department                         When was the debt incurred?
         P.O. Box 965060
         Attn: President or CEO
         Orlando, FL 32896-5060
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection Account: Care Credit


4.1
6        TBOM/Contfin                                        Last 4 digits of account number                                                      $1,136.00
         Nonpriority Creditor's Name
         C/O President or CEO                                When was the debt incurred?
         4550 New Linden Hill Rd
         Wilmington, DE 19808
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases




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4.1
7        TBOM/Milestone                                      Last 4 digits of account number                                                       $180.00
         Nonpriority Creditor's Name
         C/O President or CEO                                When was the debt incurred?
         PO Box 4499
         Beaverton, OR 97076
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.1
8        TD Bank                                             Last 4 digits of account number                                                       $664.00
         Nonpriority Creditor's Name
         Attn: President or CEO                              When was the debt incurred?
         13531 E Caley Ave
         Englewood, CO 80111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.1
9        TD Bank USA                                         Last 4 digits of account number                                                      $2,611.31
         Nonpriority Creditor's Name
         C/O President or CEO                                When was the debt incurred?
         7000 Target Pkwy N MS-NCB-0464
         Minneapolis, MN 55445
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Small Claim Judgement




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Debtor 1 Donna Marie Coburn                                                                        Case number (if known)          22-20276

4.2
0         US Dept of Education                                 Last 4 digits of account number                                                            $33,076.00
          Nonpriority Creditor's Name
          C/O President or CEO                                 When was the debt incurred?
          PO Box 7960
          Madison, WI 53707
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent

             Debtor 2 only                                        Unliquidated

             Debtor 1 and Debtor 2 only                           Disputed
                                                               Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify
                                                                                   Student Loan
4.2
1         US Dept of Education                                 Last 4 digits of account number                                                             $5,087.00
          Nonpriority Creditor's Name
          C/O President or CEO                                 When was the debt incurred?
          PO Box 4222
          Iowa City, IA 52244
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent

             Debtor 2 only                                        Unliquidated

             Debtor 1 and Debtor 2 only                           Disputed
                                                               Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify
                                                                                   Student Loan
Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Clarissa Lee Law Group LLC                               Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
20 Church St, Fl M                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Hartford, CT 06103
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Howard Lee Schiff, PC                                    Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P.O. Box 280245                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
East Hartford, CT 06128
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Rubin & Rothman LLC                                      Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attention President or CEO                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
1787 Veterans Hwy
Islandia, NY 11749
                                                         Last 4 digits of account number



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Debtor 1 Donna Marie Coburn                                                                             Case number (if known)         22-20276
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Silas Emil Levine                                            Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 17210                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Golden, CO 80402
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Stillman Law Offices                                         Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
30057 Orchard Lake Rd                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Suite 200, Dept 100
Farmington, MI 48334
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Stillman Law Offices                                         Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
30057 Orchard Lake Rd                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Suite 200, Dept 100
Farmington, MI 48334
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank                                               Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 965060
Attn: President or CEO
Orlando, FL 32896-5060
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                           0.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                    38,163.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                    31,278.78

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                    69,441.78




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Fill in this information to identify your case:

Debtor 1                    Donna Marie Coburn
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:     DISTRICT OF CONNECTICUT

Case number              22-20276
(if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X                                                                   X
             Donna Marie Coburn                                                Signature of Debtor 2
             Signature of Debtor 1

             Date       June 27, 2022                                          Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
